Case 4:24-mc-01163 Document 1-4 Filed on 07/22/24 in TXSD Page 1 of 40




                EXHIBIT 3
  Case 4:24-mc-01163 Document 1-4 Filed on 07/22/24 in TXSD Page 2 of 40




Interim Staff Report
Trading in NYMEX WTI Crude Oil
Futures Contract Leading up to,
on, and around April 20, 2020
Published November 23, 2020




                                             DISCLAIMER

   This is an interim report by certain staff of the Commodity Futures Trading Commission (“CFTC” or
    “Commission”). Any views expressed in this interim report are solely the views of staff, and do not
      necessarily represent the position or views of the CFTC, its five-member Commission, or any
                                                 Commissioner.
        Case 4:24-mc-01163 Document 1-4 Filed on 07/22/24 in TXSD Page 3 of 40




Contents

I.            Introduction.......................................................................................................................... 1
II.           Executive Summary............................................................................................................. 1
III.          Background .......................................................................................................................... 3
      A. Oil Market and Relationship to WTI Futures ...................................................................... 3
      B. NYMEX WTI Crude Oil Futures ........................................................................................ 6
         1.      Settlement Process............................................................................................................ 7
         2.      Execution Types............................................................................................................... 7
      C. Overview of April 20 Events ............................................................................................... 8
IV.           Fundamental Factors.......................................................................................................... 10
      A. Impact of Global Economic Slowdown, COVID-19, and Other Factors .......................... 10
      B. Storage Concerns ............................................................................................................... 11
V.            Trading Activity................................................................................................................. 15
      A. Open Interest in the May Contract..................................................................................... 15
      B. Starting Open Interest on April 20..................................................................................... 20
      C. Intraday Trading................................................................................................................. 23
      D. Liquidity & Order Book Analysis...................................................................................... 28
      E. Market Integrity Controls .................................................................................................. 35
VI.           Conclusion ......................................................................................................................... 36




                                                                            i
      Case 4:24-mc-01163 Document 1-4 Filed on 07/22/24 in TXSD Page 4 of 40

I.       Introduction
Division of Market Oversight (“DMO”) and Office of the Chief Economist (“OCE”) staff of the
U.S. Commodity Futures Trading Commission (the “CFTC” or “Commission”) issue this
interim report (the “Report”) 1 to provide background, context, and observations regarding the
trading activity leading up to, on, and around April 20, 2020 (“April 20”), for the West Texas
Intermediate (“WTI”) Light Sweet Crude Oil futures contract (the “WTI Contract”), traded on
the New York Mercantile Exchange (“NYMEX”). 2
This Report focuses on the WTI Contract’s May 2020 expiration (the “May Contract”), which
settled on April 20 at a price of -$37.63 per barrel. The May Contract’s April 20 negative
settlement price was the first time the WTI Contract traded at a negative price since being listed
for trading 37 years ago. 3
This Report includes: (i) an executive summary; (ii) background on the WTI Contract; (iii) a
discussion of fundamental factors that impacted supply and demand for domestic crude oil; and
(iv) an interim analysis of trading activity in the WTI Contract on April 20.


II.      Executive Summary
This Report outlines the events of the WTI Contract market between January 1, 2020, and April
21, 2020. This Report also sets forth data on the geopolitical and fundamental economic drivers,
as well as certain technical factors, preceding and coinciding with the negative settlement price
of the WTI Contract on April 20. 4


1
  Consistent with Section 8(a) of the Commodity Exchange Act (“CEA”), this Report does not contain data or
information that would separately disclose (i) the business transactions or market positions of any person, or (ii)
trade secrets or names of customers. In addition, this Report concerns only the observations by DMO and OCE staff
and does not represent a legal conclusion with respect to the applicability of any provision of the CEA or the
Commission’s regulations. Furthermore, this Report is based upon the information available to such staff at the time
this Report was written, and any different, changed, or omitted facts or circumstances may require additional
analysis and result in different observations. This report is interim as a result of the above and the proximity to the
events. “Interim” does not suggest that any further reports will or will not be forthcoming. Commission Staff may
identify additional information or conduct additional analysis over time, and the determination of next steps or
reports, if any, will be made at that time in light of the facts and circumstances at that time. The Commission has not
expressed any view regarding the observations contained herein.
2
  NYMEX is a Designated Contract Market (“DCM”) regulated by the CFTC and is part of the Chicago Mercantile
Exchange Group Inc. (“CME”). The trading day for WTI Contracts (and many other CME contracts) is nearly 24
hours, Sunday through Friday. The April 20 trading session actually began at 6:00 p.m. Eastern Time (“ET”) on
Sunday, April 19. Unless otherwise indicated, reference herein to trading on April 20 refers to the trading session
beginning at 6:00 p.m. ET Sunday, April 19, ending at 2:30 p.m. ET Monday, April 20. Also, all times in this Report
reference ET, unless otherwise indicated.
3
  This Report is limited to analysis of the NYMEX WTI Contract and does not include analysis of trading activity in
the ICE Futures Europe WTI crude futures contract, a cash-settled contract.
4
  This Report does not analyze the propriety of trading by any particular trader or group of traders. Additionally, to
the extent any trading activity may have been abusive, manipulative, disruptive, or otherwise unlawful, an
evaluation of that activity is beyond the scope of this Report. As such, this Report does not consider whether forces
outside of supply and demand impacted prices leading up to, on, or around April 20, nor does this Report identify
the root cause(s) of any price movement of the WTI Contract leading up to, on, or around April 20. Furthermore, as
is customary, nothing in this Report should be interpreted to either confirm or deny the existence of an enforcement
investigation by the Commission related to the matters addressed herein.


                                                          1
     Case 4:24-mc-01163 Document 1-4 Filed on 07/22/24 in TXSD Page 5 of 40
The negative settlement price of the WTI Contract occurred on the penultimate day of trading for
the May Contract, which expired on April 21. For the WTI Contract May expiry, market
participants who were not intending to make or take delivery of the crude oil underlying the
futures contract were expected to close out of their positions by April 21 (the May Contract’s
expiration date and last day of trading). As described in detail below, the process of reducing the
amount of the total number of futures contracts that remain open without an offsetting position or
fulfilled by delivery, or “open interest” (“OI”), 5 through trading or netting is known as
“compression.” The level of compression for the May Contract on April 20, and the level of
trading to achieve compression, was historically high, resulting in OI in the May Contract
reducing markedly throughout the day.
This Report reviews the fundamental factors of supply, demand, and storage as well as technical
trading factors surrounding the May Contract as it traded on April 20. Fundamental factors that
coincided in and around the May Contract’s trading and settlement at negative prices on April 20
discussed in this Report include the following:
    •    An already oversupplied global crude oil market was hit with an unprecedented reduction
         in demand caused by the novel coronavirus pandemic (“COVID-19”). 6 Uncertainty over
         both the magnitude and duration of that loss of demand increased volatility to historic
         levels. 7 This Report observes how certain actions in response to the decline in demand by
         the Organization of Petroleum Exporting Countries (“OPEC”), along with 10 non-OPEC
         oil-exporting nations, colloquially referred to as “OPEC Plus,” impacted market
         volatility.
    •    Concerns were growing in the marketplace about whether OPEC Plus or other global
         producers could respond quickly to the reduction in demand. These concerns raised
         questions about the availability of storage for excess production, and were particularly
         pressing at the Cushing, Oklahoma, oil terminal, which serves as the delivery point for
         the physically-settled WTI Contract.
    •    By March 2020, the working storage available at the Cushing facility was near capacity.
         The scarcity in capacity raised procedural concerns related to the mechanics of pipeline
         transportation and storage at the Cushing terminal, both of which are required to support
         the physical delivery process for the WTI Contract. Procedural concerns about the
         physical delivery process included questions about whether the WTI Contract would
         trade at negative prices. In or about late March and early April, NYMEX and some
         industry participants began preparing for the prospect of negative WTI crude oil prices,

5
  OI refers to the total number of futures contracts long or short in a delivery month or market that has been entered
into and not yet liquidated by an offsetting transaction or fulfilled by delivery. OI is also referred to as “open
contracts” or “open commitments.” See CFTC Futures Glossary, https://www.cftc.gov/LearnAndProtect/
AdvisoriesAndArticles/CFTCGlossary/index.htm#O (last visited November 20, 2020).
6
  See Scott Tong, ‘Suppliers are Sexy,’ But the Real Oil Collapse Story is Demand, MARKETPLACE (April 3, 2020),
https://www.marketplace.org/2020/04/03/why-are-oil-prices-low-covid19/. The World Health Organization declared
the coronavirus disease 2019 outbreak a global pandemic on March 11, 2020. See https://www.who.int/director-
general/speeches/detail/who-director-general-s-opening-remarks-at-the-media-briefing-on-covid-19---11-march-
2020.
7
  See Figure 1, infra at p. 11.


                                                          2
       Case 4:24-mc-01163 Document 1-4 Filed on 07/22/24 in TXSD Page 6 of 40
         changing technology and pricing models to account for this contingency. 8 As discussed
         below in Section III.A., while prices in futures contracts of other commodities (such as
         natural gas and interest rates) traded at negative levels at various points during the last
         decade, the WTI Contract had not.
In addition to the fundamental factors summarized above, a number of technical factors related
to market structure coincided with, and may have influenced, the April 20 negative settlement
price. As discussed in more detail below, these factors included the following:
    •     Generally, in the weeks prior to the expiration of the May Contract, and specifically at
          the start of the April 20 trading session, OI in the May Contract was much higher than
          usual.
    •     The majority of traders holding positions in the May Contract had traded out of their
          positions prior to April 20. OI fell from 634,727 contracts at the start of the month of
          April to 108,593 contracts at the start of the April 20 trading session.
    •     OI was high entering the April 20 trading session, but the number of reportable traders
          holding positions at expiry on April 21 was consistent with prior contract months.
    •     Limit order book activity related to multiple products show a decrease in liquidity in the
          May Contract starting well before April 20.
    •     During the April 20 trading session, exchange-based control mechanisms (such as
          dynamic circuit breakers (“DCBs”) 9 designed to impose pauses in the event of rapid or
          large price moves) were triggered. Nevertheless, the speed and magnitude of the price
          moves observed on April 20 in the May Contract (particularly between 1:00 p.m. ET and
          the end-of-day settlement at 2:30 p.m. ET) were exceptional. 10
In summary, a variety of factors coincided leading up to, on, and around April 20, when WTI
Contract prices fell from $17.73 per barrel at the beginning of the trading session to finally settle
at -$37.63 per barrel. An oversupplied global oil market faced an unprecedented reduction in
demand due to COVID-19 slowdowns and shutdowns, and the uncertainty over supply, demand,
and storage capacity coincided with price volatility in the WTI Contract observed at historic
levels that day.


III.      Background
          A. Oil Market and Relationship to WTI Futures
In 2018 and 2019, the United States was the top producer of crude oil in the world. 11 The U.S.
assumed this role for the first time in decades primarily as a result of expanded use and
development of hydraulic fracturing technology in the Permian region of western Texas and
eastern New Mexico, the Federal Offshore Gulf of Mexico, and the Bakken region of North



8
  See Section III.C., infra.
9
  DCBs define an upper and lower limit of how far an instrument is allowed to move in a configured time interval.
10
   See Section V.E. Market Integrity Controls.
11
   See U.S. ENERGY INFORMATION ADMINISTRATION (“EIA”), OIL AND PETROLEUM PRODUCTS EXPLAINED: WHERE
OUR OIL COMES FROM (2020).


                                                        3
    Case 4:24-mc-01163 Document 1-4 Filed on 07/22/24 in TXSD Page 7 of 40
Dakota and Montana. 12 The increase since 2011 in U.S. production of light sweet crude oil
grades has been particularly notable. 13
Increases in national crude oil production coincided with growing export activity. In December
2015, the U.S. ban on oil exports was lifted, propelling the U.S. to become a leading crude oil
exporter. 14 These dynamics further strengthened the importance of the crude oil industry to the
overall U.S. economy.
The United States’ role as a top crude oil producer and exporter highlights the WTI Contract’s
function as a global benchmark and the utilization of the oil facilities in Cushing, Oklahoma by
domestic oil producers. Alongside the Brent Crude futures contract, 15 the WTI Contract is one of
the largest and most widely-traded crude oil futures contracts in the world. The WTI Contract is
used by both commercial and non-commercial participants to hedge and manage risk.
As a global benchmark for crude oil, the WTI Contract serves as a key reference rate for pricing
physical and financial oil transactions. For example, in the physical oil commercial market, the
WTI Contract is used as a reference rate for pricing U.S. domestic and regional crude oil
production, which is generally priced at a differential to the WTI Contract price. 16 The WTI
Contract is also utilized as a pricing reference rate for imports and exports of crude oil, both to
and from the U.S., as well as regional markets in Canada, Mexico, and some Central and South
American crude oil markets. 17
Logistics, operational costs, and other constraints also play a role in setting crude oil futures
contract prices. 18 In addition, the ability to standardize pricing of different grades of crude oil
against a benchmark across various production, refining, and distribution regions allows the
physical cash markets to operate more transparently. 19
The WTI Contract also serves as the basis for the calculation of a spot contract price, that is, the
price at which crude oil or a commodity may be bought or sold for immediate delivery. Physical

12
   See EIA, THE UNITED STATES IS NOW THE LARGEST GLOBAL CRUDE OIL PRODUCER (2018).
13
   Id. There are several types of crude oil, each priced according to various characteristics, two of which - density
and sulfur content - are key. Density ranges from light to heavy. The level of sulfur content determines whether
crude oil is graded sweet or sour. Generally, products such as gasoline and diesel fuel are more readily refined from
light and sweet crude oil than from heavy and sour crude oil. See EIA, Crude Oils Have Different Quality
Characteristics, (2012).
14
   Consolidated Appropriations Act of 2016, Pub. L. No. 114-113, 129 Stat. 2242. President Obama signed the $1.15
trillion Consolidated Appropriations Act into law, which, among other things, appropriated funds to renewable
energy producers while repealing the crude oil export ban.
15
   The Brent Crude futures contract is traded on Intercontinental Exchange (“ICE”) Futures Europe. Unlike WTI,
Brent Crude oil refers to oil from the North Sea.
16
   Secondary benchmarks include WTI Houston, WTI Midland, LLS, Mars, Argus Sour Crude Index, and WCS
Cushing/WCS Houston.
17
   See EIA, BENCHMARKS PLAY AN IMPORTANT ROLE IN PRICING CRUDE OIL (2014).
18
   Bottlenecks, access to water, refinery, and export demand can have a marked effect on prices at different locations
notwithstanding consistent crude oil quality. See generally EIA, PIPELINE CONSTRAINTS, REFINERY MAINTENANCE
PUSH WESTERN CANADIAN CRUDE OIL PRICES LOWER (2018).
19
   Generally, commodities are traded in two separate but related markets: the cash market and the futures market.
The cash market refers to the buying and selling of physical commodities where the price and exchange of product
occurs in the present. In contrast, the futures market deals with the buying or selling of future obligations to make or
take delivery of the commodities at some future date. Commodities can also be traded through swaps. Swaps are
outside the focus of this Report.


                                                           4
     Case 4:24-mc-01163 Document 1-4 Filed on 07/22/24 in TXSD Page 8 of 40
crude oil cash trades are generally structured either as a differential or a basis through an
exchange of barrels (“barrel back”), whereby one grade of regional crude oil can be valued,
assessed, or exchanged against another grade. Cushing, Oklahoma, is conveniently situated and
used for these trades, allowing producers and refiners to leverage the physical cash market and
the WTI Contract to price, hedge, transfer, and settle these trades. Outright (non-derivative)
commercial transactions often use a calendar month average (“CMA”) pricing mechanism. This
mechanism employs a volume-weighted average price (“VWAP”) of (i) a crude oil contract such
as the WTI Contract, or (ii) a price differential to the WTI Contract across a range of days or a
period (typically a calendar month). In the case of CMA contracts referencing WTI Contract
prices, the futures contract expires prior to the actual calendar month end. As a result, the
contract term for the commercial transaction determines the contract price by computing the
VWAP of the remaining period with the following near month in the WTI Contract series.
The WTI Contract also impacts financial markets, as a variety of transactions use the WTI
Contract as a key reference price, including international derivative markets, crude oil swap
transactions, commodity index transactions, and exchange traded funds (“ETFs”) in the U.S. and
internationally. 20 Many commodity index funds also include the WTI Contract as a component
of their index funds. Canadian and Mexican grades of crude oil sold in the U.S. are reliant on the
WTI Contract as a benchmark. The Bloomberg Sour Crude Index (“USCRSRIN”) and Argus
Sour Crude Index (“ASCI”) are among the reference prices used by various nations, such as
Saudi Arabia, Kuwait, and Iraq, to set the price of their exports to the U.S. These prices also bear
a strong relationship to WTI prices, so much so that the USCRSRIN and ASCI also experienced
negative prices on April 20. 21
As indicated above, the WTI Contract’s benchmark status means that a negative price shock can
have broad implications. While negative prices in energy markets are not common, they have
occurred. For example, negative prices have transpired in a European electricity market, where
market commentators concluded that a high renewable energy supply combined with low
consumer demand on a Sunday in May 2019 caused electricity prices to go negative in the EPEX
SPOT market. 22 Negative prices have also been observed in a U.S. regional natural gas market,
where market commentators noted that spot prices for natural gas dropped below zero in March
2019 as increased supply outstripped pipeline capacity near the Waha hub in the Permian Basin
of Western Texas. 23
The robustness, reliability, price formation, and price discovery roles of the WTI Contract are
relied upon not only to meet the risk-management and hedging needs of commercial and non-
commercial participants in the crude oil markets, but also as part of a critical infrastructure that is

20
   An example of such an offering is the Bank of China’s wealth-management product issued to the Chinese high
net-worth sector and linked to the WTI crude oil prices. This product is named “Yuányóu Bǎo” or “原油宝”).
21
   See Bloomberg L.P. for USCRSRIN index, www.bloomberg.com/energy, and Argus Media.com for ASCI,
https://www.argusmedia.com/-/media/Files/methodology/argus-sour-crude-index.ashx.
22
   See AleaSoft Energy Forecasting, “Negative prices in some European power markets thanks to a high renewables
production” (May 28, 2019), https://www.pv-magazine.com/press-releases/negative-prices-in-some-european-
power-markets-thanks-to-a-high-renewables-production/.
23
   See Scott DiSavino, Explainer: Why are U.S. Natural Gas Prices in Texas Below Zero? REUTERS, April 9, 2019,
available at: https://www.reuters.com/article/us-natgas-pipelines-flaring-explainer/explainer-why-are-u-s-natural-
gas-prices-in-texas-below-zero-idUSKCN1RL2NL.


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     Case 4:24-mc-01163 Document 1-4 Filed on 07/22/24 in TXSD Page 9 of 40
vital for the oil industry and the well-being of regional and state economies, as well as the
economy of the U.S. and beyond. 24
As the main delivery and price settlement point for the WTI Contract, Cushing is a vital
transshipment point with many intersecting pipelines and storage facilities, providing easy access
to refiners and suppliers. Crude oil flows inbound to Cushing from a number of sources and
outbound through dozens of pipelines. 25 Cushing serves as a central hub and way-station
allowing the exchange, transfer, or trade of various grades of crude oil and refined products.
Cushing’s central location between the Gulf Coast, Midcontinent, 26 and Midwest producing
basins, and refineries, storage, and export hubs, serves to reduce regional price differences, 27
creating a more uniform pricing structure. As a result, the WTI Contract is the central benchmark
for domestic crude oil. 28

         B. NYMEX WTI Crude Oil Futures
NYMEX’s WTI Contract is the most actively traded crude oil futures contract in the U.S. Each
contract is for 1,000 barrels of physically-deliverable crude oil that meets specific standards set
by NYMEX. The WTI Contract is priced in U.S. dollars and Cushing, Oklahoma is the delivery
point. The WTI Contract series lists for trading monthly futures contracts for the current year, the
subsequent 10 calendar years, and two additional months. 29 The contract trades nearly 24 hours a
day, Sunday through Friday ET. Daily traded volume averages approximately 1.2 million
contracts per day. 30



24
   See U.S. DEPT. OF HOMELAND SECURITY & U.S. DEPT. OF ENERGY, CRITICAL INFRASTRUCTURE AND KEY
RESOURCES SECTOR-SPECIFIC PLAN AS INPUT TO THE NATIONAL INFRASTRUCTURE PROTECTION PLAN (REDACTED)
(2007).
25
   Pipelines deliver the vast majority of domestic crude oil to U.S. refineries. The pipelines connect domestic
production regions to Cushing, Oklahoma, reducing logistical constraints and expanding the utility of a large
secondary physical market with local storage capability.
26
   The Midcontinent region is a physiographic province that extends from northern Texas and covers portions
of Nebraska, Kansas, and Oklahoma.
27
   The crude oil price differential among domestic producing regions has narrowed as a result of infrastructure
spending. For example, the price difference between WTI Midland crude oil and WTI Cushing and Magellan East
Houston crude oil has narrowed since 2018, as investments have removed most of the pipeline capacity constraints
from the Permian region to Cushing. Conversely, WTI Midland prices still trade slightly lower than Houston crude
oil prices, suggesting that the region still faces some takeaway constraints in shipping Permian crude oil to the U.S.
Gulf Coast.
28
   While WTI is the most widely-known U.S. crude oil stream, other crude oil streams do exist, including (i) Light
Louisiana Sweet (LLS) crude, which has become the local benchmark for sweet crude oil in the U.S. Gulf Coast; (ii)
US-Gulf Coast Sour and Medium crudes, such as Mars and Poseidon (produced offshore Louisiana); and (iii)
Southern Green Canyon produced offshore Texas.
29
   These forward periods are referred to as the “term structure” of the WTI Contract markets. The term structure of
the WTI markets extends beyond 10 years, allowing participants to buy or sell futures contracts to hedge, risk
manage, and invest. See https://www.cmegroup.com/trading/energy/crude-oil/light-sweet-
crude_contractSpecs_futures.html for additional contract specifications.
30
   The WTI Contract market for April 20 opened on Sunday, April 19 at 6:00 p.m. ET, as Asian markets opened for
trading on April 20. NYMEX cycles through a number of pre-defined market states at the open. These include: (1)
Pre-Opening: a predetermined time before the trading session opens when participants are able to enter, modify, and
cancel orders for the trading day that is going to start shortly. However, no trades are executed at this time; (2) Pre-
Opening/No-Cancel: During the Pre-Opening period, the last 30 seconds prior to transitioning to Open. This Pre-
Opening/No-Cancel period allows participants to place orders, but it does not allow orders to be canceled or


                                                           6
     Case 4:24-mc-01163 Document 1-4 Filed on 07/22/24 in TXSD Page 10 of 40
              1.    Settlement Process
Under NYMEX rules, the nearest of the contract months listed for trading is designated as the
active month. However, the active month becomes a non-active month effective two business
days prior to the spot month expiration. 31 April 20 was the penultimate day of the May Contract,
meaning the May Contract, as the near-month contract, was no longer the active month on April
20. Instead, the June WTI Contract became the active contract on Friday, April 17, two business
days prior to the May Contract’s expiration day of April 21. As a result, under the NYMEX rule
the May Contract (and all months other than the designated active month of June) would settle
on April 20, based upon the VWAP of accumulated calendar spread transactions occurring
between 2:28 p.m. and 2:30 p.m. ET, the calendar spread settlement period (calendar spreads are
explained below).

                 2.       Execution Types
There are many trade execution types available in the WTI Contract (see Table 1 for a full list of
trade and execution types transacted on April 20). 32 Three of the most commonly-used types are
relevant to the intraday trading dynamics observed on April 20: outright trades, calendar spread
trades, and Trade at Settlement (“TAS”) trades. Each is described in more detail in the following
sections and formally defined on the CME’s website. 33

                          a)       Outright Trades
Outright trades are the most direct futures trading instrument available. They represent the single
purchase or sale of a futures contract for delivery at a single future date. For example, if a trader
thinks oil prices will rise, he or she will want to establish a long position in WTI Contracts and
might place an outright trade to buy WTI Contracts to do so. This provides an immediate
position in the market on a single expiration. The position’s profit or loss is calculated based on
the movements of that single futures expiration (e.g., the May Contract).

                          b)       Calendar Spreads
Calendar spread trades are common in WTI Contracts and many other futures contracts. A
calendar spread trade involves the simultaneous purchase and/or sale of two different expirations


modified. Trades are also not executed during this period; and (3) Markets Open: the period of time when orders are
sent and matched in real time, based on the product’s trading times.
31
  CME Group Daily Settlement Procedures, Light Sweet Crude Oil (CL) Futures Daily Settlement Procedure,
available at:
https://www.cmegroup.com/confluence/display/EPICSANDBOX/NYMEX+Crude+Oil#NYMEXCrudeOil-
ActiveMonth. CME Group Daily Settlement Procedures, Light Sweet Crude Oil (CL) Futures Daily Settlement
Procedure, available at:
https://www.cmegroup.com/confluence/display/EPICSANDBOX/NYMEX+Crude+Oil#NYMEXCrudeOil-
ActiveMonth.
32
   Table 1 is found on page 18, infra.
33
   For the instrument types available on CME’s Globex trading platform (“Globex”), see
https://www.cmegroup.com/confluence/display/EPICSANDBOX/Instrument+Types+Available+on+CME+Globex.
Globex is an electronic trading system providing global connectivity to derivatives, including the WTI Contract.
CME technology facilitates electronic trading, providing global users with virtually 24-hour access to its markets.
See https://www.cmegroup.com/globex.html.


                                                         7
    Case 4:24-mc-01163 Document 1-4 Filed on 07/22/24 in TXSD Page 11 of 40
in the same contract. Individual positions in the spread are referred to as “legs.” Calendar spread
trades generally involve buying one expiration and selling another in the same contract.
Calendar spreads are priced off the differential between the two contracts. This means a trader
holding a calendar spread is less interested in the price of each individual contract expiration
than the difference between the two.

                           c)       Trading at Settlement (TAS)
TAS trades are an order type that allows a participant to execute a trade at a spread, or defined
number of tick increments, above or below that day’s settlement price, at any time during the
trading session. TAS has been a trade type for crude oil contracts since 2001. 34 TAS allows
market participants to establish new, or adjust existing, positions using the trading day’s
settlement prices, without actually trading in the market during the closing period.
TAS prices are derived from the settlement price of the underlying futures contract after the
settlement is complete. TAS contracts are bought and sold at a price differential from the daily
settlement price, so the final price of the TAS contract is the settlement plus or minus a premium
or discount. The allowable price increments and differential are defined by NYMEX. TAS trades
provide a mechanism to access the markets for traders who want to capture the day’s settlement
price.
Spread TAS trades are also available in the WTI Contract, operating in a similar manner to
outright TAS. Spread TAS trades are priced at a differential from the day’s settlement for the
given spread. The spread TAS position is then converted into a calendar spread after the daily
settlement.

         C. Overview of April 20 Events
On Monday, April 20, between approximately 2:08 p.m. ET and the end of the daily settlement
period at 2:30 p.m. ET, the May Contract traded at prices below $0 per barrel for the first time
since the inception of the WTI Contract in 1983. On April 20, the May Contract recorded an all-
time intraday trading low price of -$40.32 per barrel before a final settlement of -$37.63 per
barrel. 35 All other expirations in the WTI Contract settled at positive prices on April 20. 36
As indicated above, April 20 was the May Contract’s penultimate day, one day before the
contract’s expiration date. 37 The April 20 trading session commenced the preceding Sunday
evening at 6:00 p.m. ET, when WTI Contract markets opened in Asia. The May Contract opened


34
   See: NYMEX Notice to Members No. 41, 1/31/2001. Amendments to NYMEX Rule 6.40B (Trading at
Settlement (Pilot Program)): Extension of Pilot Program.
35
   Daily market information is widely available. See https://www.wsj.com/market-data/quotes/futures/
CRUDE%20OIL%20-%20ELECTRONIC?mg=prod/com-wsj.
36
   Markets with an upward sloping futures curve are referred to as being in “contango.” See
https://www.cmegroup.com/education/courses/introduction-to-ferrous-metals/what-is-contango-and-
backwardation.html.
37
   Per the contract specifications, trading terminates three business days prior to the 25th calendar day of the month
prior to the contract month, unless the 25th calendar day is not a business day, in which case trading terminates four
business days prior. See https://www.cmegroup.com/trading/energy/crude-oil/light-sweet-crude_contractSpecs
_futures.html.


                                                          8
     Case 4:24-mc-01163 Document 1-4 Filed on 07/22/24 in TXSD Page 12 of 40
the session on Sunday at a price of $17.73 per barrel. During the trading session from Sunday’s
open to Monday’s intraday low, the May Contract price ultimately fell by $58.05 per barrel. The
price drop was particularly pronounced during a 20-minute period between 2:08 p.m. and 2:28
p.m. ET, when May Contract prices moved from $0 to -$39.55 per barrel, before reaching the
all-time low of -$40.32 at 2:29 p.m. ET.
Thus, the settlement price of the May Contract reflected the difference in price, or the “spread,”
between the May Contract and the active 38 June 2020 contract (“June Contract”) (the “May-
June Spread”). 39 During the April 20 trading session, the May-June Spread widened from the
previous trading day’s closing spread of -$6.76 to -$58.06 per barrel.
The next trading session, which as is customary began the evening before, was the April 21
trading session. The April 21 trading session began on the evening of April 20. During the April
21 trading session, at approximately 8:04 p.m. ET on April 20, approximately six hours after
prices dropped to negative prices during the April 20 trading session earlier that day, the May
Contract traded above $0 per barrel. 40 During the overnight session of April 20 to 21, May
Contract prices dipped below zero again when the European markets opened, and remained at or
near negative prices until U.S. markets opened the morning of April 21. The price settled at
expiration on April 21 at a price of $10.01 per barrel. At the end of the April 21 trading session,
the May-June spread settled at -$1.56 per barrel, consistent with levels seen in mid-March.
As set forth in detail in the next section, coming into the penultimate trading day for the May
Contract, the marketplace appeared to focus increasingly on the imbalance between supply and
demand in the crude oil markets and the shortage of crude oil storage, particularly in light of the
WTI Contract’s terms requiring physical delivery in Cushing. 41 In the weeks prior to April 20,
NYMEX announced it was preparing for negative prices in the WTI Contract, issuing a number
of advisories and actions in preparation for such an event. 42 On or about April 1, the CME

38
   The active month is the nearest of the contract months listed. Two business days prior to the spot month
expiration, the active month becomes a non-active month. For example, if the spot month expires on a Friday, the
next-listed contract will be considered the active month contract on the Wednesday prior to the spot month
expiration. Here, the May Contract transitioned from active to non-active status at 6:00 p.m. ET on April 16, 2020
(the start of the April 17, 2020 trade date).
39
   See https://www.cmegroup.com/confluence/display/EPICSANDBOX/NYMEX+Crude+Oil.
40
   Oil markets and trading that day were referenced in a White House press conference that began at
approximately 5:39 p.m. ET, before the April 21 session opened at 6:00 p.m. ET on April 20.
https://www.whitehouse.gov/briefings-statements/remarks-president-trump-vice-president-pence-members-
coronavirus-task-force-press-briefing-29/.
41
   See International Energy Agency (“IEA”), IEA Oil Market Report (OMR), April 2020, available at:
https://www.iea.org/reports/oil-market-report-april-2020.
42
   On April 3, CME issued a notice entitled “Changes to Price and Strike Price Eligibility Flags for Certain Energy
Products,” indicating that CME was flagging certain products, including WTI Contracts, for potential negative price
trading. See https://www.cmegroup.com/notices/electronic-trading/2020/04/20200403.html. On April 8, CME issued
a notice entitled “CME Clearing Plan to Address the Potential of a Negative Underlying in Certain Energy Options
Contracts,” stating that the CME Clearinghouse would provide one day’s notice before allowing negative options
pricing and strikes, in order to allow the clearing participants to switch to the Bachelier model. See
https://www.cmegroup.com/notices/clearing/2020/04/Chadv20-152.html. The Black-Merton-Scholes options pricing
model, among others, relies on logarithms in the calculations. As a result, models of this type cannot calculate a
price for the option if the underlying asset has a negative price. As the Bachelier model does not rely on logarithms
for its calculations, it is particularly useful in situations where the underlying asset on which the option is written
may have a negative price. On April 13, CME issued a Globex notice announcing that firms wishing to test negative
and zero trade, settlement, and strike prices for Crude Oil futures and options on Crude Oil futures could utilize the


                                                          9
    Case 4:24-mc-01163 Document 1-4 Filed on 07/22/24 in TXSD Page 13 of 40
advised CFTC staff that CME was taking operational steps toward supporting negative pricing,
as needed, for futures and strikes for options for certain energy products traded on CME’s
Globex, including the WTI Contract. On April 3, 8, 13, and 15, CME issued public notices and
communications to its members in this regard. 43


IV.                           Fundamental Factors
This section describes fundamental factors that may have influenced the May WTI Contract
price on April 20 based on reporting staff’s interim perspective.

                              A. Impact of Global Economic Slowdown, COVID-19, and Other Factors
The COVID-19 pandemic significantly reduced demand for crude oil, driving prices lower and
increasing the 90-day historical price volatility 44 to extreme levels (see Figure 1 below). Between
January 2 and February 6, 2020, WTI Contract price levels dropped steadily from $61.18 per
barrel to $50.95 per barrel. By March 2, they had fallen to $41.28 per barrel. The price drop from
January through February may be attributed, at least in part, to the reduction in crude oil demand
in China 45 and other Asian countries, in addition to the expanding concerns of a more
widespread impact of the pandemic.
                        180                                                          OPEC+ reaches          Mounting storage               80
                        160                                                          agreement, although    concerns impact
                                                                                                                                           60
                                                                                     cuts don’t become      markets
                        140                              U.S. Equity markets set
                                                                                     effective until May                                   40
                        120 OPEC                         lows due to COVID-19




                                                                                                                                                 WTI Front Month Prices
                        100 Meetings                                                                                                       20
Historical Volatility




                         80 end without                         Increasing Russia – Saudi                                                  0
                            an
                         60 agreement                           tensions
                                          Saudi Arabia announces                                                                           -20
                         40 to cut        it is cutting prices,
                            supply                                                                                                         -40
                         20               raising tensions with
                                                                                            WTI front month sets a settlement price of -
                          0               Russia                                                                                           -60
                                                                                            $37.63
                           1-Mar   6-Mar 11-Mar 16-Mar 21-Mar 26-Mar 31-Mar 5-Apr 10-Apr 15-Apr 20-Apr 25-Apr 30-Apr


Figure 1: May Contract Performance during March and April 2020. Source: CFTC




CME Group New Release testing environment. The April 13 notice also noted that “as an operational step toward
potentially supporting negative pricing and strikes,” these energy outright futures and options were flagged as
eligible to trade at negative prices on the CME market data platform. See https://www.cmegroup.com/notices/
electronic-trading/2020/04/20200413.html. On April 15, CME issued a further notice to its clearing members
entitled “Testing Opportunities in CME’s ‘New Release’ Environment for Negative Prices and Strikes for Certain
NYMEX Energy Contracts” about the possibility of negative prices. See https://www.cmegroup.com/
notices/clearing/2020/04/Chadv20-160.html. On April 20, before WTI Contracts went negative, the CME Global
Command Center notified its NYMEX exchange members that certain energy futures contracts, including the WTI
Contract, would have no low limits and could trade negative.
43
   See supra n. 42.
44
   This volatility measurement was calculated using the standard historical volatility calculation by measuring price
dispersion in the May Contract on a 90-days rolling basis.
45
   The International Energy Agency March Oil Market Report stated “Covid-19 (coronavirus) has spread beyond
China and our 2020 base case global oil demand forecast is cut by 1.1 mb/d (million bpd). For the first time since
2009, demand is expected to fall year-on-year, by 90 kb/d. In 1Q20, China’s demand falls by 1.8 mb/d y-o-y (year-
on-year) with global demand down 2.5 mb/d….” See https://www.iea.org/reports/oil-market-report-march-2020.


                                                                                    10
    Case 4:24-mc-01163 Document 1-4 Filed on 07/22/24 in TXSD Page 14 of 40
In response to this decline in demand, OPEC Plus members sought to modify their existing
agreement to reduce production in early March. However, they failed to do so and dissolved the
agreement, further increasing downward pressure on WTI Contract prices. 46
As the pandemic spread globally, global demand for crude oil fell further, and WTI Contract
prices dropped to $28.70 per barrel by March 16.
Subsequently, as WTI Contract prices and Brent futures prices fell to $22.76 per barrel and
$31.48 per barrel, respectively, 47 OPEC Plus members reached a historic agreement to cut the
world’s crude oil output by 9.7 million barrels per day (“bpd”), the largest single production cut
in history. 48 On April 13, 2020, OPEC Plus announced this agreement prior to crude oil markets
opening. Under the agreement, the cuts were to begin on May 1 and extend through the end of
June 2020. The cuts would then be tapered to 7.7 million bpd from July 2020 through the end of
2020, and 5.8 million bpd from January 2021 through April 2022. OPEC Plus members planned
to meet again in June 2020 to assess whether further actions would be needed. 49
 The initial price response to the April 13, 2020 OPEC announcement of production cuts was
muted, with the WTI Contract prices continuing to decline, although the Brent futures prices
increased briefly on Monday, April 13. However, by the end of Friday, April 17, both the WTI
Contract and Brent futures prices had further declined, as the production cuts were not slated to
begin until May 1. In the near term, crude oil markets were still subject to unconstrained
production at a time when global demand had been blunted by the COVID-19 pandemic. At the
close on Friday, April 17, the May Contract price fell below $20 per barrel to $18.27 per barrel
and Brent futures prices fell to $28.08 per barrel.

        B. Storage Concerns
The COVID-19 pandemic significantly reduced demand in a global crude oil market that was
already over-supplied. 50 Although OPEC Plus members had agreed to reduce supply, the
production reductions were not expected to commence until May 2020. Accordingly, concerns
continued to increase around oversupply of crude oil production and undersupply of crude oil
storage availability in the near term. In the U.S., with production unabated, similar concerns
arose in late March, becoming increasingly persistent and pertinent as the May Contract
approached expiration. 51


46
   See Sam Meredith, OPEC+ Fails to Agree on Massive Supply Cut, Sending Crude Prices to 2017 Lows, CNBC
(March 6, 2020), https://www.cnbc.com/2020/03/06/opec-meeting-coronavirus-weighs-on-oil-demand-as-oil-prices-
fall.html.
47
   Near month futures prices at close of business April 9, 2020.
48
   See Pippa Stevens, OPEC and Allies Finalize Record Oil Production Cuts After Days of Discussion, CNBC (April
12, 2020), https://www.cnbc.com/2020/04/12/opec-and-allies-finalize-record-oil-production-cut-after-days-of-
discussion.html#:~:text=OPEC%20and%20its%20oil%20producing%20allies%20on%20Sunday%20finalized%20
a,largest%20output%20cut%20in%20history.
49
   At the June meeting, OPEC Plus members decided to extend the first level of production cuts for one month.
Further meetings are scheduled for November 30, 2020 and December 1, 2020.
50
   See Scott Tong, ‘Suppliers are Sexy,’ But the Real Oil Collapse Story is Demand, MARKETPLACE (April 3, 2020),
https://www.marketplace.org/2020/04/03/why-are-oil-prices-low-covid19/.
51
   See Stanley Reed, The World is Running Out of Places to Store Its Oil, THE NEW YORK TIMES March 26, 2020,
https://www.nytimes.com/2020/03/26/business/energy-environment/oil-storage.html.


                                                      11
    Case 4:24-mc-01163 Document 1-4 Filed on 07/22/24 in TXSD Page 15 of 40
At the start of 2020, there were approximately 49.4 million barrels of oil in floating storage
worldwide. 52 While the number fluctuated week-to-week based on economic conditions, global
floating storage inflows exceeded 10 million barrels during the week ending March 8, following
the collapse of the first OPEC Plus agreement. 53 During the first three weeks of April, when the
OPEC Plus members were not subject to any production quotas, the amount of oil in floating
storage rose by almost 69 million barrels to about 127 million barrels, a 117% percent increase
from the March 29 level (see Figure 2). The bulk of that increase, about 40 million barrels, came
during the week ending April 19. At this point in time, the May Contract had entered its last
three days of trading, referred to as the “spot period.”


                        140,000                                                          80%
                        120,000                                                          70%
     Thousand Barrels




                        100,000                                                          60%                                                    -    >--

                         80,000                                                          50%
                                                                                         40%
                         60,000
                                                                                         30%   1--   -   1--   -      1--   1--                 -    >--
                         40,000                                                          20%
                         20,000                                                          10%
                              0                                                           0%
                             1/5/2020   2/5/2020      3/5/2020        4/5/2020


                                        Note: Total barrels of crude oil observed                                  Note: Net stocks as a percentage of
                                        in floating storage globally.                                              working storage capacity.
 Figure 2: Global Floating Storage of Crude Oil.                                     Figure 3: Weekly Crude Oil Storage at Cushing, OK.
 Source: Bloomberg Finance L.P.                                                      Source: EIA

While U.S. crude oil stockpiles remained little changed in the early stages of the COVID-19
pandemic, stockpiles began to escalate rapidly as the pandemic persisted through the first quarter
of 2020. During the week of March 27, crude oil stocks swelled by 13.8 million barrels,
compared to an average increase of just three million barrels per week in February and early
March. 54 Over the next four weeks, U.S. crude oil stocks increased by 15.8 million barrels per
week. By April 17, U.S. crude oil stockpiles were just 17 million barrels short of the all-time
peak. 55
The buildup of oil in storage facilities significantly impacted available storage capacity. As
Figure 3 indicates, data from the EIA shows that storage facilities at Cushing had increased from
about 50% of capacity in mid-March to approximately 76% of capacity by April 17. Anecdotal
press reports 56 during the week leading up to the April 20 trade date suggested that crude oil

52
   Source: Bloomberg Finance L.P.
53
   Id.
54
   For weekly information on U.S. crude oil stocks, see https://www.eia.gov/dnav/pet/pet_stoc_wstk_dcu_nus_w.
htm.
55
   See EIA, WTI CRUDE OIL FUTURES PRICES FELL BELOW ZERO BECAUSE OF LOW LIQUIDITY AND LIMITED
AVAILABLE STORAGE (2020).
56
   See Laila Kearney and Devika Krishna Kumar, No Vacancy: Main U.S. Oil Storage in Cushing is All Booked,
REUTERS, April 21, 2020, https://www.reuters.com/article/us-global-oil-usa-storage/no-vacancy-main-u-s-oil-
storage-in-cushing-is-all-booked-idUSKCN22332W, and Myra P. Saefong, The Oil Market is Running Out of
Storage Space and Production Cuts Loom, MARKETWATCH April 21, 2020, https://www.marketwatch.com/
story/the-oil-market-is-running-out-of-storage-options-2020-04-21.


                                                                                    12
    Case 4:24-mc-01163 Document 1-4 Filed on 07/22/24 in TXSD Page 16 of 40
storage was in particularly short supply. Some reports indicated that most, if not all, of the empty
storage space had already been committed. 57
Storage levels at Cushing (see Figure 3) are important not only because Cushing serves as the
delivery point for the WTI Contract, but also because Cushing is a critical hub in the U.S.
network of crude oil pipelines and accounts for a significant percentage of U.S. storage capacity.
According to EIA, the 75.8 million barrels of storage capacity in Cushing represents about 44%
of all crude oil working storage capacity in the Midwest (as defined by Petroleum Administration
for Defense District 2), and about 11% of all commercial crude oil storage in the U.S. as a whole.



                       80                                                                                   1
                       70                                                                                   0
                       60                                                                                  -1
     Million barrels




                                                                                      Dollars per barrel
                       50                                                                                  -2
                       40                                                                                  -3
                       30                                                                                  -4
                       20                                                                                  -5
                       10
                        0                                                                                  -6
                                                                                                           -7


                       -    1 4 7 10 13 16 19 22 25 28 31 34 37 40 43 46 49 52
                              5-Year Range
                              2019
                                               Calendar week 2020
                                                             Prior 5-Year Average
                                        Note: Weekly Cushing, OK Ending Stocks
                                        excluding SPR of Crude Oil
                                                                                                           -8
                                                                                                             2-Jan 17-Jan 1-Feb 16-Feb 2-Mar 17-Mar 1-Apr 16-A

                                                                                                                         Note: The spread between the May-June Contract
                                                                                                                         excluding April 20th
 Figure 4: Weekly Cushing, OK Ending Stocks.                                          Figure 5: WTI May-June Spread January to April 2020.
 Source: EIA                                                                          Source: CFTC

As the May Contract approached expiration on April 21, spreads between the May and June
Contracts widened, consistent with an increase in storage capacity concerns (see Figure 5). 58 On
January 6, 2020, the May-June Spread closed at $0.55 per barrel, indicating the May Contract
was trading at a slight premium to the June Contract. The spread later widened, consistent with
increasing concerns about the impact on demand of the COVID-19 pandemic. The May-June
Spread declined below zero on January 31, hovering between $-0.04 per barrel and -$0.24 per
barrel until early March, at which point the spread began to widen rapidly, indicating the May
Contract was trading at significantly lower levels than its June counterpart. By the close of
trading on Friday April 17, the trading day prior to the April 20 trading session, the spread
settled at -$6.76 per barrel, perhaps reflecting market concerns about the lack of available storage
for barrels scheduled to be delivered in May, among other factors.
The crude oil industry’s demand response to COVID-19 was faster than its supply response,
leading to an increase in the oversupply problem in the crude oil markets. Consumption of
refined production and crude oil fell at a rapid pace as the global economy slowed while attempts
to curtail production lagged behind the dramatic demand loss. This created a buildup of oil that
would be available for immediate use, pushing nearby prices lower. At the same time, the
expectation that demand would recover in the future kept forward prices elevated. As more oil
flowed into storage, particularly at Cushing, near-term prices continued falling, in part to


57
   See EIA, LOW LIQUIDITY AND LIMITED AVAILABLE STORAGE PUSHED WTI CRUDE OIL FUTURES PRICES BELOW
ZERO (2020).
58
   The widening of spreads meant the price of the May Contract traded at a lower price point to the June Contract.

                                                                                 13
    Case 4:24-mc-01163 Document 1-4 Filed on 07/22/24 in TXSD Page 17 of 40
discourage the continued flow of oil into facilities that were reaching their maximum operational
capacity, further widening the spread between the May and June Contracts.
In summary, a wide-ranging set of fundamental factors coincided as crude oil fell over 70% in
the days leading up to the April 20 trade date. An oversupplied global crude oil market was hit
with an unprecedented reduction in demand, and the uncertainty over both the magnitude and
duration of that loss helped push volatility to historic levels. The dissolution of the OPEC Plus
agreement in March, coupled with the delay in resuming the production cuts until May, further
exacerbated crude oil oversupply concerns, ultimately raising fears about the market’s ability to
store excess production. These concerns were particularly pressing at the Cushing storage
facilities that serve as the delivery point for the physically-settled WTI Contract.




                                                14
     Case 4:24-mc-01163 Document 1-4 Filed on 07/22/24 in TXSD Page 18 of 40
V.       Trading Activity
This section reviews trading activity in the WTI Contract market leading up to, on, and around
April 20. This section covers four main areas: (1) OI in the May Contract and related position
changes; (2) aggregated intraday trading activity; (3) liquidity and related order book analysis;
and (4) market integrity controls.
Multiple sources of information, collected and maintained by the CFTC, are incorporated into
this analysis covering end-of-day positions, aggregated intraday transactions, and market depth
information from the electronic central limit order book. DMO and OCE staff sought to review
all relevant, reported derivative transactions involving the May Contract during the spot period,
April 17 to 21. Staff of those divisions analyzed approximately 500,000 futures transactions (see
Table 1). Staff also reviewed the use of commodity swaps hedged with WTI Contracts. 59


Table 1: April 20 All Traded Sides of May 2020 NYMEX WTI Contract. Source: CFTC

 Trade Category          Description                                                Buy Volume   Sell Volume   % of Total

                         Both the Buyer and Seller are transacting an outright
 Outright Regular                                                                       45,292        45,292       18.3%
                         transaction (OR).
                         Outright trade for one participant is part of a spread
 Outright Implied                                                                       13,401        46,093       12.0%
                         trade by the other (OI).
                         Both buyer and seller are executing a spread trade
 Regular Spread Trade                                                                   49,056        49,056       19.8%
                         (SR).
                         These trades face another leg that is either an outright
 Spread Implied Trade                                                                   46,303        13,611       12.1%
                         or another spread (SI).
                         A type of outright trade that is assigned a price after
 Outright TAS                                                                           51,867        51,867       20.9%
                         the settlement price is determined (OT).
                         Spread trade that is assigned a value after the
 Spread TAS                                                                             25,209        25,209       10.2%
                         settlement window (ST).
                         Futures positions exchanged for a physical position
 Exchange for Physical                                                                  11,300        11,300        4.6%
                         (EP).

 Block Trades            Privately-negotiated trades ex-pit (PB).                        4,143         4,143        1.7%

 Undetermined            Undetermined, usually a block trade (UM).                       1,376         1,376        0.6%

 Overall Total Sides                                                                   247,947       247,947       100%




         A. Open Interest in the May Contract
During the weeks prior to the May Contract’s expiration through its penultimate trading day of
April 20, OI was higher than in previous periods. As Figure 6 shows, the previous 12-month
average OI in expiring WTI Contracts peaked around 430,000 contracts. In contrast, OI for the
May Contract peaked at 634,727 contracts on April 2.

59
   DMO and OCE staff reviewed: reportable futures positions by significant market participants; large trader
reporting obtained through Form 40 filings required under CFTC Regulation 18.04; Part 20 information for large
traders for physical commodity swaps; Parts 45 and 46 swap data recordkeeping and reporting submissions made by
various market participants in swaps and options; and trade information provided by DCMs under Part 16.

                                                               15
    Case 4:24-mc-01163 Document 1-4 Filed on 07/22/24 in TXSD Page 19 of 40
Figure 6 also shows that OI continued to increase until about 10 days prior to expiry of the May
Contract. OI generally begins to decline around four weeks prior to expiry, when participants
traditionally shift their focus away from the front month (here, May) to the next listed futures
expiration month (here, June). Participants do so as the expiring contract market shifts to
physical settlement and non-commercial participants shift to the more actively traded contract. 60
The need to roll contracts periodically is a common feature of all futures trading due to the
expiration cycle.
Figure 7 shows the transition from May to June, with OI reduction observed in the expiring
contract. Market participants, including those trading for commodity index funds or ETFs rolled
their positions from the May to June Contract during the month of April. By the open of April
20, almost all of the OI in the May Contract was closed out or rolled to future expirations.



                                 700
                                                                                                                700
     Open Interest (Thousands)




                                 600




                                                                                                    Thousands
                                                                                                                600
                                 500                                             Ill                            500
                                 400                                     !!!!!!!1111111
                                                                                                                400
                                 300                                .,111111111111111,!II
                                                                                                                300
                                 200              ~   111111111   IIIIIIIIIIIIIIIIIIIIII1!                      200
                                 100         11111111111111111111111111111111111111111;                         100
                                  -     lllllllllllllllllllll 111111111111111111111111111                        0
                                       50       40          30           20            10      0                      1-Apr   5-Apr    9-Apr   13-Apr 17-Apr 21-Apr



                                             -
                                                           Days to Expiry

                                                      May-20          12 Month Average                                        June Contract           May Contract


                                             Note: OI is the number of WTI Contracts out-                                         Note: OI transition from the near
                                             standing (1 contrract = 1,000 barrels of crude)                                      month May Contract to the June Contract.

 Figure 6: May Contract OI vs. 12-Month Average.                                                    Figure 7: May vs. June Contract OI Transition.
 Source: CFTC                                                                                       Source: CFTC




60
  By contrast to futures contracts that settle in cash, this physical settlement feature is unique and important to the
futures markets, as it provides the basis for commercial participants to hedge their exposures directly to a physically-
delivered commodity.

                                                                                                   16
       Case 4:24-mc-01163 Document 1-4 Filed on 07/22/24 in TXSD Page 20 of 40
                                                      Money                                                      Other Reportable




      200,000




r~ Ill
     · 100,000



     · 200,000




                                             Producer/Merchant                                                     Swap Dealer




      200,000



      100,000




1.~                11111,11
     -200,000




                 03/01/2020
                              - 03/15/2020          03/29/2020    04/12/2020           03/01/2020   03/15/2020         03/29/2020
                                                                                                                                     -   04/12/2020
                                                                                   Repon Date
                                                                   •   Long    •     shon


Figure 8: Market Participation of May Contract, March to April 2020 by DCOT Trader Classification. Source: CFTC

Figure 8 shows the reportable positions held by traders in the May Contract from March to until
expiration on April 21. 61 Each panel displays the positions of an aggregated trader type, as
reported in the Disaggregated Commitments of Traders report (“DCOT”). Traders from all four
categories increased positions in aggregate in the contract through the beginning of April before
reducing their positions in the second week of April consistent with Figure 8 above. While
overall non-commercial participants’ share of OI as a percentage of the overall OI decreased
throughout April, ‘Other Reportable’ increased their share of reportable OI from 23.3% to
27.9%. As the May Contract expiration neared, most traders had closed their positions or rolled
positions into contracts expiring at a later date, exiting their May Contract positions. OI at the
end of the month was a small fraction of peak OI in the beginning of April.
Table 2: Reportable Trader Positions in May Contract. Source: CFTC

                                                                                                          Reportable Positions
                                                   Trader Count                                 Commercial                       Non-Commercial
 Date                                Commercial             Non-Commercial                  Long           Short             Long            Short


61
     See https://www.cftc.gov/MarketReports/CommitmentsofTraders/index.htm.

                                                                               17
    Case 4:24-mc-01163 Document 1-4 Filed on 07/22/24 in TXSD Page 21 of 40
 April 1 (Open)              122                 217              211,217      298,944        356,553      304,975
 April 20 (Open)             95                   78                 49,430     68,482        42,601        36,782
 April 20 (Close)            59                   16                 9,715      12,845         2,473          90



Table 2 depicts the number of reportable 62 commercial and non-commercial traders in the May
Contract at various points in April, along with their long and short positions. From April 1 to the
opening of the April 20 trading session, commercial traders reduced their short positions in the
May Contract by 77.1%, while the long positions of non-commercial traders fell by 88.1%.
Similarly, 64.1% of non-commercial traders had left the May Contract by the session opening of
April 20, the penultimate day of trading.


Table 3: Beginning OI, Trading Volume and Reportable Initial Trader Counts on April 20, 2020. Source: CFTC

                     Beginning OI                       Initial Trader Counts                     Trading Volume
 Contrac                                          Distinct Trader            Percent of
                Contracts          Percent                                                     Contracts       Percent
 t                                                            IDs                Total
 May               108,593           4.5%                     173               38.6%           247,947         10.4%
                                                                                               1,319,92
 June              538,038         22.5%                       352                78.6%                         55.2%
                                                                                                      6
                  1,744,30
 Other                             73.0%                       367                81.9%         823,247         34.4%
                         4
                  2,390,93          100.0                                                      2,391,12          100.0
 Total                                                         448              100.0%
                         5             %                                                              0             %



Table 3 shows the breakdown of OI at the opening of the April 20 trading session, across
different expirations for the WTI Contract. At the start of session trading, most traders had
already rolled their positions into the following contracts, and only 4.5% of WTI Contract OI
was still held in the May Contract versus all other expirations. Similarly, most of the trading
volume on this date occurred in the June Contract. On April 20, out of the 448 distinct traders
with reportable positions, 173 held positions in the May Contract. This is roughly half the
number of traders who held reportable positions in WTI Contracts for June or later months.
In summary, over the first three weeks of April, and before the May Contract’s penultimate
trading day, 76.9% of commercial positions, and 88.0% of reportable non-commercial positions
were closed out. Consistent with orderly rolls in previous periods, at the start of the April 20
trading session, the vast majority of reportable positions were in later contract months. Similarly,
89.6% of volume on April 20, was in June or later contracts.




62
   Reportable and non-reportable positions refer to data collected under the CFTC’s Large Trader Reporting
Program. At the time of this Report, any trader with a position of 350 contracts or larger in any single futures or
option expiration month must report all their positions to the CFTC. Such traders are referred to as “reportable”
traders, and traders below the 350-contract threshold are “non-reportable.” See https://www.cftc.gov/
IndustryOversight/MarketSurveillance/LargeTraderReportingProgram/ltrp.html.

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      Case 4:24-mc-01163 Document 1-4 Filed on 07/22/24 in TXSD Page 22 of 40
Table 4: Reportable and Non-Reportable Trader Positions on April 20, 2020. Source: CFTC

                     Beginning OI                 Reportable                      Non-Reportable                CFTC Coverage
 Contract               Contracts             Long              Short                 Long        Short         Long      Short
 May                     108,593             92,031          105,264             16,562           3,329        84.7%     96.9%
 June                    538,038            506,125          504,095             31,913          33,943        94.1%     93.7%
 Other                  1,744,304       1,683,633          1,701,498             60,671          42,806        96.5%     97.5%
 Total                  2,390,935       2,281,789          2,310,857           109,146           80,078        95.4%     96.7%



In addition to the reportable positions described above, the May Contract also had non-reportable
traders holding positions. Table 4 shows the breakdown of OI at the start of the April 20 trading
session, between reportable and non-reportable positions. Across all of the WTI Contract month
expirations, 95.4% of long interest and 96.7% of short positions were held by traders whose
positions were reported to the CFTC. At the beginning of the April 20 trading session, for the
May Contract, 84.7% of the longs and 96.9% of the short positions were held by traders
registered with the CFTC. CFTC coverage is the percent of total positions reported to the CFTC
by large traders. Between the May 2019 and April 2020 contracts, average CFTC coverage was
89.7% for the long positions, and 91.4% for the short positions on the penultimate day of the
maturing WTI Contract.
In addition to the reportable positions described above, non-reportable traders held positions the
May Contract approaching April 20. Figure 9 and Figure 10 depict the non-reportable positions
in the May Contract over the course of March to April 20. While the magnitude of open non-
reportable positions decreased in the second and third weeks of April, the proportion of total
May Contract OI in non-reportable positions increased from 4.8% at the beginning of March to a
peak of 21.2% of OI in the third week of April.




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Figure 9: Long and Short Non-Reportable Positions as a Percentage of Positions in the May Contract. Source: CFTC




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Figure 10: Long and Short Non-Reportable Positions in the May Contract. Source: CFTC

                  B. Starting Open Interest on April 20
This section of the Report reviews the significant reduction, or compression, of OI during the
April 20 trading session. Relative to recent prior contract months, the amount of OI was
significantly higher at the start of the April 20 trading session.
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                                         Contract Mont,                                                                    Contract Month
 Figure 11: Penultimate Day Starting OI by Contract.                          Figure 12: Penultimate Day OI Reduction by Contract.
 Source: CFTC                                                                 Source: CFTC


As Figure 11 shows, the May Contract’s OI at the start of the April 20 trading session was
108,593 contracts, approximately 69.4% higher than the trailing 12-month average penultimate
day OI of 64,101 contracts. Figure 12 shows the OI reduction on April 20, of approximately 95
thousand contracts, was more than double the average penultimate day reduction of 41,096
contracts observed during the prior 12-month period. NYMEX rules require any contract that
remains open after the last day of trading be either settled by delivery or liquidated by an




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    Case 4:24-mc-01163 Document 1-4 Filed on 07/22/24 in TXSD Page 24 of 40
Exchange for Physical Related Product, or “EFRP.” 63 As such, Figure 13 shows almost all long
non-commercial participants, or 54.2% of OI, needed to either exit or roll their contracts prior to
the expiry. Of these positions, 15.3% were held by non-reportable traders and 23.6% belonged to
the “Other Reportable” category.



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                         Short Futures                              Long Futures


Figure 13: Starting OI on April 20, 2020 for May Contract, by DCOT Trader Type. Source: CFTC




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  See NYMEX Rulebook 200102.F. Termination of Trading, available at https://www.cmegroup.com/content/
dam/cmegroup/rulebook/NYMEX/2/200.pdf at “200102.F.” See also https://www.cmegroup.com/education/
courses/market-regulation/efrp/what-is-an-efrp.html. An EFRP is a transaction that involves a privately negotiated,
off-exchange execution of an exchange futures or options contract and, on the opposite side of the market, the
simultaneous execution of an equivalent quantity of the cash product, by-product, related product, or OTC derivative
instrument corresponding to the asset underlying the exchange contract. Futures and options on futures must be
executed openly and competitively on the exchange. EFRPs are one of the permitted exceptions to this general
requirement, as they are privately negotiated away from the exchange and subsequently submitted to CME Clearing
for clearing purposes.

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         Case 4:24-mc-01163 Document 1-4 Filed on 07/22/24 in TXSD Page 25 of 40


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                                                                                   Contract Month
                            •   Managed Money Long        Other Reportable long         •     Producer/Merchant Long    •   swap Dealer long
                            -   Managed Money Short       Other Reportable Short        -     Producer/Merchant Short   -   Swap OealerShort


Figure 14: Penultimate Day Reportable Starting OI by Contract Month and DCOT Trader Type from May 2019 to May
2020. Source: CFTC

At the opening of the April 20 trading session, 27.9% of long reportable OI was held by traders
in the “Other Reportable” DCOT category. Figure 14 shows the comparison of opening OI on
the penultimate day trading session for contracts for reportable positions expiring May 2019 to
May 2020. Compared to previous months, April 2020 observed an above-average portion of OI
held by this category whose trailing 12-month average was 14.3%.

Traders in the “Producer/Merchant” DCOT category held below average long positions in the
May Contract. This group held 14.7% of reportable OI compared to the 52.5% trailing 12-month
average. With respect to short positions, commercial trader positions are in line with their 12-
month averages while “Other Reportables” have below average positions.
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Figure 15: Long and Short Non-Reportable Positions on the Penultimate Trading Day by Contract Month, May 2019 to
May 2020 Contracts. Source: CFTC

On the penultimate day of trading, 15.3% of long WTI Contract OI belonged to the non-
reportable group. Figure 15 plots the percentage of non-reportable positions at the beginning of
the penultimate day of trading, for contracts maturing from May 2019 to May 2020. The trailing
12-month average non-reportable percent is 10.3% for long positions and 8.6% for short
positions. The percentage of non-reportable positions is above average, but similar in magnitude
to the March 2020 contract.

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        Case 4:24-mc-01163 Document 1-4 Filed on 07/22/24 in TXSD Page 26 of 40



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                          -   Managed Money long    Other Reportable Long             Producer/Merchant Long    •   swap Oealerlong
                          •   Managed Money Short   Other Reportable Short       -    Producer/Merchant Short       Swap Dealer Short


Figure 16: Reportable OI by DCOT Trader Type at Expiration. Source: CFTC

At expiration, positions left open are typically held by commercial producers and merchants,
swap dealers, and a few other reportable traders. On April 21, the proportion of reportable OI
held by different DCOT trader groups remained largely in line with the contracts that expired in
the past 12 months. 64 While the number of open contracts was 69.4% higher than the prior 12-
month average on the penultimate day, most of these open positions were closed during the April
20 trading session, reflecting an above average level of compression. At the expiry of the May
Contract on April 21, the number of contracts that remained open was 2,427, below the prior 12-
month average of 2,815, or less than 1% of the peak OI during that period.

              C. Intraday Trading
This section analyzes aggregated intraday trading activity using a comprehensive transaction
dataset collected by the CFTC. 65 The examination starts with a study of intraday prices, followed
by volume, and finally, specific facts conditioning on customer account details. Unlike the end-
of-day position data, the transaction data can be linked to specific product descriptions within a
single expiration. This allows for the option to break down activity within the May Contract into
the outright, spread, and TAS components – all of which are considered as distinct instruments
on the exchange.
The study begins by looking into realized transaction prices within the day to help guide the
analysis of volume and account participation. Figure 17 shows prices corresponding to all
outright trades on April 17 and 20 and shows markets declined the day prior to April 20.
Furthermore, the downward pressure in the market following the increased volatility and volume
in late February and March pushed down the front month contracts, which resulted in a contango
market with significant differences between individual expirations. The activity on April 20



64
   According to CFTC data, as displayed in Figure 16, market participants classified as commercial producers
accounted for 100% of the long OI at the end of April 21 and approximately 57% of the short OI. The remaining
43% of short OI was held by commercial participants classified as swap dealers intermediating commercial interests.
65
   The CFTC collects daily files from trading exchanges for each transaction. While the information covers all
trades, the majority are trades executed on an electronic venue.

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    Case 4:24-mc-01163 Document 1-4 Filed on 07/22/24 in TXSD Page 27 of 40
shows how only the May Contract exhibited negative prices while the remaining expirations held
relatively stable.

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Figure 17: Intraday Prices for all Contracts on April 17, 2020 (Left) and April 20, 2020 (Right). Source: CFTC

The May Contract opened the April 20 trading session at $17.73 per barrel, fell $58.05 to reach
an intraday low of -$40.32, before rebounding slightly to settle at -$37.63 per barrel. Prices in the
May Contract fell below zero at 2:08 p.m. ET, close to the end of the trading day. Prices trended
down for most of the April 20 trading session but the speed of price declines began to accelerate
around noon ET. This also impacted the May-June spread, which widened from the previous
trading day’s closing spread of -$6.76 to settle at -$58.06 per barrel.
Figure 18 and Figure 19 focus on the afternoon of April 20 on the specific products with extreme
price movements. This shows that TAS products (the May TAS, June TAS, and the May-June
TAS Spread) all displayed extreme prices all hitting their exchange defined limit of 10 ticks and
20 ticks from the settlement price, for outright and spread, respectively.
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Figure 18: Intraday Prices for May Contract (Blue), May-June Spread (Red), May-June TAS Spread (Green); April 20,
2020 12:30 p.m. to 2:45 p.m. ET. Source: CFTC




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      Case 4:24-mc-01163 Document 1-4 Filed on 07/22/24 in TXSD Page 28 of 40
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Figure 19: Intraday Prices for May TAS Contract (Blue), June TAS Contract (Red); April 20, 2020 12:30 p.m. to 2:45
p.m. ET. Source: CFTC

TAS contracts trade at a differential to the settlement price and are quoted as a premium/discount
from the settlement price (e.g., settlement price +0.02). Each contract has established limits for
TAS pricing and in the case of the WTI Contract, the TAS limits are +/- 0.10 for outright TAS
and +/- 0.20 for spread TAS. Figure 18 and Figure 19 show outright and spread TAS began
trading at their minimum limits before prices in the May Contract went negative at 2:08 p.m. ET
(2:30 p.m. ET is marked on the charts by the vertical red line).
TAS contracts do not trade at their price limits very often, and the number of TAS contracts
traded at the maximum price differentials during the April 20 session in all contract months were
well above average. During the April 20 trading session, the number of outright TAS contracts
traded at the maximum price limit was more than 70 times higher than all of 2019. Spread TAS
did not trade at its price limits at all in 2019 or any other day from January through May 2020,
aside from April 20 (see Table 5).
Table 5: Summary of NYMEX WTI TAS Trades Executed at Maximum Price Differentials, January 2019 to May 2020.
Source: CFTC

                        Time Period                                                                TAS Type                                                                            Trade Count                                              Volume
                        All 2019                                                                   Limit Outright TAS                                                                           49                                                  164
                        All 2019                                                                   Other TAS                                                                               234,432                                            8,106,679
                        2020, Jan 31- Apr 17                                                       Limit Outright TAS                                                                          264                                                  941
                        2020, Jan 31- Apr 17                                                       Other TAS                                                                               104,552                                            4,255,584
                        April 20th                                                                 Limit Outright TAS                                                                        1,101                                               11,568
                        April 20th                                                                 Limit Spread TAS                                                                             41                                                  241
                        April 20th                                                                 Other TAS                                                                                 9,978                                              255,491
                        2020, Apr 21 - May 31                                                      Limit Outright TAS                                                                          412                                                  851
                        2020, Apr 21 - May 31                                                      Other TAS                                                                                58,519                                            2,252,190
Moving to observed volume, Panel A of Table 6 presents a summary of volume and trades for
the six futures products of interest based on the study of observed transaction prices. Comparing
volume on April 20, the May TAS Contract has half the volume of the June TAS Contract. The


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    Case 4:24-mc-01163 Document 1-4 Filed on 07/22/24 in TXSD Page 29 of 40
table shows TAS trades tend to have larger trade sizes – a fact that will be explored later in this
section.
Table 6: Overview of Transaction Data by Product on April 20, 2020 66. Source: CFTC

 Panel A: Market Activity Information:
                                                                                                            Volume
                                                                                      Volume    Volume         After
                                                      Full                  Avg        Before      After   2:00 p.m.
                                                      Day       Trade      Trade         2:00      2:00        % of
 Product             Type            Month         Volume       Count       Size      p.m. ET   p.m. ET        Total
 CLK0                Outright        May            58,693     40,098         1.5      50,672     8,021      13.7%
                     Outright
 CLTKO                               May            51,867       1,949       26.6      48,871     2,996        5.8%
                     TAS
 CLM0                Outright        June          914,148    724,999         1.3     692,440   221,708      24.3%
                     Outright
 CLTM0                               June          104,270       2,645       39.4      83,911    20,359      19.5%
                     TAS
 CLK0-CLM0           Spread          May-June      142,667     71,310         2.0     125,247    17,420      12.2%
 CLTK0-CLTM0         Spread TAS      May-June       41,836       3,616       11.6      36,188     5,648      13.5%

 Panel B: Trader/Account Information:
                                                                                       Active    Active
                                                                             Avg         Only      Only
                                                      # of        Avg      Trade       Before      after     Active
                                                    Active     Qty per   Size per        2:00      2:00     During
 Product             Type            Month           Accts       Acct       Acct      p.m. ET   p.m. ET    Full Day
 CLK0                Outright        May             1,911        78.5        1.5       1,021       400         490
                     Outright
 CLTKO                               May               269       385.6       34.2        172         36          61
                     TAS
 CLM0                Outright        June            5,888       305.5        1.2       1,934     1,493       2,461
                     Outright
 CLTM0                               June              241       865.3       46.0        105         69          67
                     TAS
 CLK0-CLM0           Spread          May-June          490       582.3        2.2        245         66         179
 CLTK0-CLTM0         Spread TAS      May-June            99      845.2       34.0         42          9          48


The majority of the volume traded in the May and June Contracts, including outrights, spreads,
and TAS was traded prior to 2:00 p.m. ET, meaning most of the volume was traded when prices
were positive. The composition of trading accounts and volume in the May Contract on April 20
differed from the June Contract and May-June spread (see Table 6). The May Contract saw
similar outright and outright TAS volume totals for the full day session, which is not the case for
the June Contract or the May-June spread and spread TAS – those products show much higher
volumes in non-TAS trading. In terms of magnitude, the June Contract traded over 15 times
more volume than the May Contract.
The composition of active accounts in each contract on April 20 reflects the roll period having
already largely occurred – over 5,000 accounts actively traded in the June Contract while about

66
  CME product codes are used to differentiate products in this table (e.g., “CLK0”). The product types and contract
months associated with each code are defined in this table not repeated in subsequent tables. Spread numbers
include the volume for each leg and also include each leg as a trade. For example, a 200-lot CLTK0-CLTM0 trade
would appear in the table as 400 contracts for volume (200 for each leg) and 2 trades (one trade for each leg).

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    Case 4:24-mc-01163 Document 1-4 Filed on 07/22/24 in TXSD Page 30 of 40
1,900 traded in the May Contract (see Table 6). The May Contract had a higher proportion of
accounts active only before 2:00 p.m. ET compared with the June Contract, which had more
accounts active during both the pre- and post-2:00 p.m. ET periods. The number of accounts
actively trading TAS was also much smaller than the number of accounts trading outrights.
Figure 20 and Figure 21 show intraday volume aggregated at one-minute intervals for the six
futures contracts of interest. These figures demonstrate several things. For example, the figures
demonstrate the importance of the settlement period for the active June Contract, relative
differences between the TAS contracts, volume in the June TAS Contract being concentrated
closer to the settlement window, and very little activity over the day in the May Contract.


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Figure 20: Volume of Futures Linked to the May Contract on April 20, 2020. Source: CFTC




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        Case 4:24-mc-01163 Document 1-4 Filed on 07/22/24 in TXSD Page 31 of 40
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Figure 21: Volume of Futures Linked to the June Contract on April 20, 2020. Source: CFTC

Panel B of Table 6 provides a summary of account level activity by product. Most accounts are
in the June Contract relative to the May Contract. Accounts in TAS tended to have larger
quantity and larger average trade sizes.

              D. Liquidity & Order Book Analysis
This section considers market depth information from the central limit order book. 67 DMO and
OCE staff utilized the information made available by the CME to market participants to test
trading models and feed into near real-time trading algorithms. This data is useful in exploring
market liquidity because the electronic limit order book represents all available liquidity (visible
resting limit orders) and provides multiple price levels on both sides of the market.

For this analysis, daily market depth files, for dates April 13-20, 2020, are collected from Vertex
Analytics for the May Contract, the June Contract, the July Contract, the May-June Spread, the
June-July Spread, the May TAS Contract, the June TAS Contract, the May-June TAS Spread,
and the June-July TAS Spread. 68 The raw data from Vertex is a collection of updates to the limit

67
   A limit order book is a collection of open limit orders sequenced by market side (buy vs. sell), entry time, and
price level. For example, focusing on the best quotes, each will have a depth reflecting the number of contracts
available at the price to buy or sell. The “market” is commonly defined by the best bid and ask price level and often
the difference between these, in the most actively traded markets, is equal to the minimum tick size. Market
participants use this information to assist with trading decisions as well as back-test trading strategies and trading
algorithms. See https://www.cmegroup.com/market-data/datamine-historical-data/. This information is commonly
used to study market liquidity. A limit order book with lots of depth at both best quotes is considered liquid as a
market participant can buy or sell with no price impact. During times of elevated volatility, depth often decreases
and the bid-ask spread is expected to widen, reflecting reduced liquidity.
68
   Vertex is a technology company focused on providing easy access and interactive visualizations of every message
from the CME. The subscription allows for direct download of daily files across all the products traded on the CME.
Once downloaded, raw message data is processed to rebuild the top ten levels of the limit order book. See
https://vertex-analytics.com/.


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    Case 4:24-mc-01163 Document 1-4 Filed on 07/22/24 in TXSD Page 32 of 40
order book and are then used to construct the full 10-deep book of resting depth at all 20 price
levels. 69 Once the book is constructed, it is possible to select any point during the day and
observe the current price levels and how many contracts are available for trade.

Table 7 provides total counts on the number of updates to the limit order book conditional on
trade date and product. Each time a new limit order arrives, or an existing limit order is canceled
or modified, an update message is created and made available for market participants to pick up
and process. Therefore, the number of updates can serve as a proxy for activity in the limit order
book. To provide additional details, counts are provided for the full day (Panel A), an hourly
average (Panel B), an interval prior to the settlement window (Panel C), and during the 2-minute
settlement period (Panel D).

Focusing on outrights, there was a general decreasing trend in activity in the May Contract,
while there was an increasing trend in activity in the June Contract between April 13 and April
20. This is a common pattern in the market during roll periods as the nearby contract approaches
expiration and traders migrate to the next contract with the most trading activity. The update
counts, during our short sample of dates, show the TAS order book was updated less frequently
than outright and spread markets, which is in line with observed transactions and the number of
market participants (see Table 6).




Table 7: Activity in the Limit Order Book by Date and Product. Source: CFTC

                                                      Number of Book Updates
                                                                  CLTM         CLK0-      CLTK0-
 Trade Date                         CLK0        CLTK0   CLM0           0       CLM0       CLTM0

 Panel A: Full Day
                                                           2,081,08
             4/13/2020          2,471,378        27,070           4   24,233   748,602       9,924
                                                           1,823,57
             4/14/2020          2,356,864        24,649           0   25,566   862,084       9,165


69
     There are approximately 41 million observations in the sample.

                                                          29
    Case 4:24-mc-01163 Document 1-4 Filed on 07/22/24 in TXSD Page 33 of 40
                                                         2,266,73
          4/15/2020          2,009,674        24,143            7       20,145       849,938           10,241
                                                         2,208,73
          4/16/2020          1,491,536        19,608            8       17,983       858,685            7,506
                                                         3,198,93
          4/17/2020            970,846        16,083            7       26,954       890,589            5,971
                                                         4,746,61
          4/20/2020            409,676         4,281            1       11,123       536,066            3,166
 Panel B: Average/Hour (9:00 a.m. to 2:00 p.m.
 ET)
                                                         173,028.
          4/13/2020          197,614.0         154.8           4          98.2      54,407.2             46.6
                                                         182,269.
          4/14/2020          212,473.2         119.8           4          79.0      84,011.8             67.2
                                                         219,473.
          4/15/2020          178,575.8         625.6           4          64.8      71,390.0             16.4
                                                         203,114.
          4/16/2020          141,525.0           53.8          0         137.0      64,216.2             19.4
                                                         270,470.
          4/17/2020            88,869.2          42.0          2         122.8      63,594.4             19.6
                                                         397,187.
          4/20/2020            39,207.0        495.0           0         547.0      40,648.4            377.8

 Panel C: 2:00 p.m. - 2:28 p.m. ET
         4/13/2020            113,657            448     103,783           297        59,462              153
         4/14/2020            164,756            930     141,796           317        80,075              323
         4/15/2020            107,712            396     149,885           302        66,078              178
         4/16/2020              77,959           181     127,724           432        38,719               85
         4/17/2020              33,996           146     202,658           449        54,627              127
         4/20/2020              17,344           499     328,506         2,033        11,942            1,058

 Panel D: 2:28 p.m. - 2:30 p.m. ET
         4/13/2020              47,554        25,485         33,242     23,231        17,645            9,345
         4/14/2020              55,394        22,633         38,835     24,490        18,612            8,209
         4/15/2020              26,599        17,379         27,131     19,293        18,432            9,933
         4/16/2020              28,410        18,928         29,741     16,553        10,157            7,251
         4/17/2020              22,077        15,454         48,525     25,558        10,193            5,688
         4/20/2020               1,157            17         81,186      5,632           294                6



Table 8 shows resting depth at the best bid and ask quotes across our sample of dates and
contracts. Comparing the May and June Contracts, this shows the natural change in depth during
the roll period as the market transitions to the new actively traded contract. The May Contract
shows a 50 percent decline between April 13 and April 20. There is a larger decrease observed in
the May-June Spread. TAS markets display a significant quantity of contracts at the best quotes
with often large imbalances – a pattern not observed in outright and spread markets in this
sample period. The largest imbalance observed in the June Contact occurs on April 20. The
differences between outrights and TAS may relate to the larger TAS trade sizes observed in
Table 6.

Table 8: Resting Depth in the Limit Order Book by Date and Product (1-minute Average). Source: CFTC

               CLK0             CLTK0            CLM0                 CLTM0      CLK0-CLM0       CLTK0-CLTM0


                                                        30
           Case 4:24-mc-01163 Document 1-4 Filed on 07/22/24 in TXSD Page 34 of 40
                       Best        Best      Best         Best   Best         Best       Best      Best      Best         Best       Best          Best
      Date             Bid         Ask        Bid          Ask   Bid          Ask         Bid       Ask      Bid          Ask         Bid           Ask
      4/13/20            8           8     10,950        8,623     5            5       6,363     5,986       16           15       2,062         3,824
      4/14/20           12           11    11,691      22,724         8         6       7,680     7,796         17          18      6,750         6,619
      4/15/20           10           11     5,255        5,127        8         7       3,598     4,243         16          26       924          4,483
      4/16/20            7             8    5,659        3,316        9         9       8,950    11,904         12          15      1,766         4,578
      4/17/20            4             6    5,867        3,692      11         10     10,280      8,138         14          10      1,341         4,607
      4/20/20            4             5    1,169      10,402       12         11       5,063    21,305          4              3    949          2,976


Figure 22 and Figure 23 shows intraday depth at the best quotes for outrights and TAS,
respectively. For comparison, information from April 17 is displayed (left side). For most of that
day, the May Contract depth at the best quotes was close to five contracts, but there were
intervals within the day with large imbalances, specifically on the sell side.

Figure 23 shows the imbalance between the bid and ask depth in the TAS contracts on April 20,
which was due to the depth at the best ask being relatively larger than the depth at the best bid.
As TAS markets pushed toward the -10-tick limit, this imbalance decreased.


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Figure 22: Limit Order Book Depth at Best Quotes (Bid=Blue; Ask=Red) on April 17 and 20 – Outrights. Source: CFTC




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          Case 4:24-mc-01163 Document 1-4 Filed on 07/22/24 in TXSD Page 35 of 40
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Figure 23: Limit Order Book Depth at Best Quotes (Bid=Blue; Ask=Red) on April 17 and 20 – TAS. Source: CFTC



Besides resting depth, the reconstructed limit order books may allow for study of the bid-ask
spread, a common measure of market liquidity. 70 Figure 24 shows intraday bid-ask spreads for
the May and June Contracts by trade date. From the upper panel, we see the changes occurring
during the week prior to April 20. As observed above, as activity moved from the May Contract
to the June Contract, the bid-ask spreads increased in the May Contract and decreased in the June
Contract. On April 17, the bid-ask spread in the May Contact was significantly higher than the
bid-ask spreads observed in previous days.

The lower panel of Figure 24 shows the intraday bid-ask spread in the May Contract on April 20
and shows an increase in the bid-ask spread (the June Contract’s bid-ask spread was similar to its
pattern observed on April 17). The increase in the bid-ask spread started at noon and remained
elevated for the rest of the afternoon.




70
   The bid-ask spread is computed by taking the difference between the best ask and the best bid quoted prices and
then dividing by the minimum tick size, which results in a bid-ask spread measured in number of ticks. A
reconstructed limit order book allows one to compute the bid-ask spread at all instances of a change in either best
quote. Using the bid-ask spread at each book update and the duration between updates, a time-weighted measure is
computed to more accurately capture the bid-ask spread in a market.

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            Case 4:24-mc-01163 Document 1-4 Filed on 07/22/24 in TXSD Page 36 of 40
                                                                                                                          Trade Date
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                                                                                                                         -    04/14/2020
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Figure 24: Intraday Bid-Ask Spreads by Date and Product. Source: CFTC

Next, we turn to examining resting depth away from the best quotes. The quantity of resting
liquidity at levels deeper in the book provides additional information related to the amount of
buying and selling interest away from the best bid and ask prices. Furthermore, knowledge of
depth at deeper levels typically provides traders with information on price slippage if their
demand exceeds depth at the best quotes. Figure 25 contrasts depth across the top five book
levels on April 13 and April 20 in the May and June Contract. We can see the shift in depth over
the week – the May Contract depth has significantly decreased across all book levels and became
inverted as the largest depth was at the best quotes.




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        Case 4:24-mc-01163 Document 1-4 Filed on 07/22/24 in TXSD Page 37 of 40
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                                                              Book Level


Figure 25: Average Depth by Book Side and Level on April 13, 2020 (Blue) and April 20, 2020 (Red) – Outrights 71.
Source: CFTC




71
  Figure reflects the average quantities resting on the top five book levels, which should be distinguished from the
average quantities resting on the top five price levels.

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    Case 4:24-mc-01163 Document 1-4 Filed on 07/22/24 in TXSD Page 38 of 40
Figure 26 extends the prior discussion and focuses attention on depth of the book in the two TAS
markets for the May and June Contracts. Unlike the outright contracts, TAS order books appear
to have most available liquidity at the first two levels of the limit order book.

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                                                              Book level


Figure 26: Average Depth by Book Side and Level on April 13, 2020 (Blue) and April 20, 2020 (Red) – TAS. Source:
CFTC

                  E. Market Integrity Controls
The CME’s electronic trading platform provides several types of market integrity controls
designed to ensure fair and efficient trading for all participants. The market integrity control
mechanisms are designed to strike a balance between maintaining orderly markets and ensuring
price formation and price discovery are not hindered by limits or controls that stop markets from
functioning. These exchange-based trading controls are applied to all markets that trade on the
Globex. 72 These controls are an important safeguard for modern electronic trading.
An example of a control is the DCB, which sets a range in which prices can move and are reset
continuously on a rolling 60-minute lookback window. If markets move +/- 15% in that time, a
two-minute halt is initiated. Another is velocity logic (“VL”), a control designed to limit
significant price movements in an extremely small time increment. 73



72
   See CME Market Integrity Controls, available at: https://www.cmegroup.com/confluence/display/EPICSAND
BOX/Market+Integrity+Controls.
73
   VL monitors potential significant price movements in extremely small time increments on Globex. VL works in
conjunction with price banding to preserve the integrity of markets. Whereas price banding monitors futures price
movements that would go too far, VL monitors futures price movements that would go too far, too fast. VL is
calculated using the highest and lowest prices within a predetermined lookback window.

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    Case 4:24-mc-01163 Document 1-4 Filed on 07/22/24 in TXSD Page 39 of 40
Several of the market integrity controls triggered in and around the May Contract trading on
April 20. As Figure 27 indicates, market integrity controls began to trigger shortly before 1:00
p.m. ET as the price of the May Contract approached zero and continued to trigger while prices
traded below zero.
In total, on April 20, over 30 DCBs were triggered in the May Contract and more than 10 DCBs
were triggered in the May-June Spread contract. Over 15 other DCBs were triggered in various
spread contracts and multiple VL events also affected various other related crude oil contracts.
In the WTI Contract, DCBs will halt the overall WTI Contracts market if there is a trigger event
in the active contract. On April 20, the active contract was the June Contract. To the extent a
non-active period or underlying spreads are triggered, the market only halts for that particular
contract. VL also has a similar method in the WTI Contract where the specific contract is placed
in a reserve status when a non-active VL is triggered. 74




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Figure 27: Sample of May Contract Market Control Events on April 20, 2020. Source: CFTC



VI.     Conclusion
This Report describes interim observations concerning certain fundamental factors as well as
certain trading activity related to the WTI Contract leading up to, on, and around April 20, 2020.



74
  VL introduces a momentary suspension in matching by transitioning the futures instrument(s). When a lead month
futures instrument triggers an event, unless the lead month futures instrument belongs to an equities, metals, or FX
instrument group when the entire group transitions into the Pre-Open state, the WTI Contract VL will transition that
underlying contract into the Reserved/Pause state.

                                                        36
    Case 4:24-mc-01163 Document 1-4 Filed on 07/22/24 in TXSD Page 40 of 40
An oversupply of global crude oil, along with unprecedented reduction in demand due to the
COVID-19 pandemic, increased concerns about the availability of storage for excess production.
These fundamental factors coincided with a number of technical factors related to trading and
liquidity which saw the May Contract trade and settle at negative prices on April 20.
Over the first three weeks of April, 2020 – and before the penultimate trading day – over 77% of
commercial positions, and 88% of non-commercial positions, were closed out. At the start of the
April 20 trading session, the vast majority of both positions were in later contract months.
Roughly 90% of volume on April 20 was in June or later contracts.
The majority of the volume traded in the May and June Contracts, including outrights, spreads,
and TAS, was traded prior to 2:00 p.m. ET, meaning most of the volume was traded when prices
were positive. Limit order book activity related to multiple contracts show a decrease in liquidity
in the May Contract, and this decrease started well before April 20.
Several of the market integrity controls triggered in and around the May Contract trading of
April 20. In total, over 30 DCBs were triggered in the May Contract and more than 10 DCBs
were triggered in the May-June Spread contract. The speed and magnitude of the price moves
observed on April 20 in the May Contract, particularly between 1:00 p.m. ET and the end-of-day
settlement at 2:30 p.m. ET, were exceptional. The market integrity controls triggered in the May
Contract did not halt trading in the active June Contract or the WTI market as a whole.
The observations concerning certain fundamental factors discussed and various CFTC and
market data preliminarily analyzed in this Report provide the public with an understanding of the
WTI Contract market and aggregated trading activity leading up to, on, and around April 20.




                                                37
